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                                                               7
                                                                                              UNITED STATES DISTRICT COURT
                                                               8
                                                                                            NORTHERN DISTRICT OF CALIFORNIA
                                                               9
          CALIFORNIA ◆GEORGIA ◆FLORIDA ◆TENNESSEE ◆NEW YORK




                                                              10   VIRAL DRM LLC,                                     CASE NO.: 3:23-cv-05594

                                                              11                          Plaintiff,                  COMPLAINT FOR INTELLECTUAL
                                                                                                                      PROPERTY INFRINGEMENT, REMOVAL
                                                              12
                                                                   v.                                                 OF COPYRIGHT MANAGEMENT
                                                              13                                                      INFORMATION, AND DMCA COUNTER-
                                                                   THE YOUTUBE UPLOADERS LISTED ON                    NOTICE MISREPRESENTATION IN
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                                                              14   SCHEDULE A,                                        VIOLATION OF U.S.C. § 512(f)
                                                              15
                                                                                          Defendants.                 (INJUNCTIVE RELIEF DEMANDED)
                                                              16
                                                              17
                                                                          Plaintiff VIRAL DRM LLC by and through its undersigned counsel, hereby brings this
                                                              18
                                                                   Amended Complaint against Defendants THE YOUTUBE UPLOADERS LISTED ON SCHEDULE
                                                              19
                                                                   A for damages and injunctive relief, and in support thereof states as follows:
                                                              20
                                                                                                       SUMMARY OF THE ACTION
                                                              21
                                                                          1.      Plaintiff brings this action for violations of exclusive rights under the Copyright Act,
                                                              22
                                                                   17 U.S.C. § 106, to copy and distribute plaintiff’s original copyrighted works of authorship; for
                                                              23
                                                                   misrepresentation under 17 U.S.C. § 512(f) for the defendant’s counternotification(s) referred to
                                                              24
                                                                   herein that are misleading and false; and for removal or alteration of copyright management
                                                              25
                                                                   information in violation of 17 U.S.C. § 1202.
                                                              26
                                                                                                       JURISDICTION AND VENUE
                                                              27
                                                                          2.      This is an action arising under the Copyright Act, 17 U.S.C. §§ 501, 512(f), 1202.
                                                              28



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                                                               1          3.      This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C. §§
                                                               2 1331, 1338(a).
                                                               3        4.      Defendants are subject to personal jurisdiction in California and jurisdiction is proper
                                                               4 in this district court.
                                                               5          5.       Jurisdiction is proper in California because defendants are transacting business within
                                                               6 California by using the YouTube platform that Google operates from within California to (a) commit
                                                               7 acts of infringement, (b) profit from acts of infringement, (c) commit CMI violations, (d) profit from
                                                               8 CMI violations, (e) submit false and bad faith put-back requests in violation of 17 U.S.C. § 512, and
                                                               9 (f) profit from continued receipt of advertising revenue from videos restored by YouTube in
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                                                              10 response to defendants’ false put-back requests.
                                                              11        6.      Jurisdiction is proper in California because defendants committed tortious acts within
                                                              12 Georgia on the YouTube platform that Google operates in California. Defendants: (a) committed
                                                              13 acts of infringement alleged below in California on the YouTube platform, (b) committed CMI
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                                                              14 falsification and removal violations alleged below in California on the YouTube platform, and (c)
                                                              15 submitted false and bad faith put-back requests alleged below in violation of 17 U.S.C. § 512 in
                                                              16 California on the YouTube platform.
                                                              17        7.      Jurisdiction is proper in California because defendants caused plaintiff Viral DRM to
                                                              18 suffer a tortious injury in this state caused by an act or omission outside this state. The acts or
                                                              19 omissions that the defendants’ committed outside the state consisted of: (a) downloading plaintiff’s
                                                              20 copyrighted videos, (b) copying plaintiff’s copyrighted videos, (c) editing and creating derivative
                                                              21 works of plaintiff’s copyrighted videos, and (d) removing and falsifying plaintiff’s copyright
                                                              22 management information. All these acts caused plaintiff to suffer tortious injury in California
                                                              23 because after committing these acts, defendants then uploaded the infringing videos to YouTube and
                                                              24 displayed/performed the infringing videos on the YouTube platform with false CMI or with CMI
                                                              25 removed.
                                                              26          8.      Thereafter, when plaintiff submitted DMCA notices to YouTube, defendants
                                                              27 responded by submitting false and bad faith put-back requests in violation of 17 U.S.C. § 512.
                                                              28 Following the commission of these tortious acts, defendants then profited from their acts by



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                                                               1 receiving advertising revenue from infringing videos, and damaged plaintiff by depriving plaintiff of
                                                               2 the revenue that rightfully belonged to plaintiff and not defendants.
                                                               3          9.      Jurisdiction is also proper in this district court pursuant to 17 U.S.C. § 512(g)(3)(D)
                                                               4 because defendants consented to the jurisdiction of this federal district court when it provided the
                                                               5 counternotifications attached hereto because the service provider provided with the
                                                               6 counternotifications can be found in this judicial district, namely YouTube.
                                                               7        10.     Defendants have sufficient minimum contacts with the state of California, there is a
                                                               8 direct connection between the defendants’ tortious acts and the state of California, and the exercise
                                                               9 of personal jurisdiction over the defendants complies with the Due Process Clause of the United
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                                                              10 States Constitution.
                                                              11         11.    Defendants are subject to personal jurisdiction in this district pursuant to Federal Rule
                                                              12 of Civil Procedure 4(k)(2) because (i) defendants are not subject to jurisdiction in any state’s court of
                                                              13 general jurisdiction; and (ii) exercising jurisdiction is consistent with the United States Constitution
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                                                              14 and laws.
                                                              15        12.       Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a) and 17
                                                              16 U.S.C. § 512(g)(3)(D) because the events giving rise to the claims occurred in this district,
                                                              17 defendants engaged in infringement in this district, defendant are subject to personal jurisdiction in
                                                              18 this district, and because defendants consented to this venue when defendants provided the
                                                              19 counternotification(s) referred to herein because the service provider provided with the
                                                              20 counternotification(s) can be found in this judicial district.
                                                              21        13.     Defendants may be served by and through the email address listed in their
                                                              22 counternotice and through the website that acted as its agent and defendant agreed to accept service
                                                              23 of process through that website from plaintiff or an agent of plaintiff in the counternotification(s)
                                                              24 pursuant to 17 U.S.C. § 512(g)(3)(D).
                                                              25                                                PLAINTIFF
                                                              26          14.     Viral DRM is a Mississippi limited liability company.
                                                              27          15.     Viral DRM is a syndicator of award-winning videographic content created by talented
                                                              28 videographers who travel around the globe in pursuit of Mother Nature’s wrath. Plaintiff’s



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                                                               1 videographers and photographers cover weather extremes from tornadoes, hurricanes, flooding,
                                                               2 blizzards, volcanoes and climate change impacts.
                                                               3          16.    Plaintiff is affiliated with WXchasing LLC, a Mississippi limited liability company,
                                                               4 and Live Storms Media LLC, an Alabama limited liability company. WXchasing is a video
                                                               5 production company that creates some of the videographic Works that Viral DRM syndicates and
                                                               6 licenses. Live Storms Media is a licensing broker of video content owned by or exclusively licensed
                                                               7 to Viral DRM and WXchasing.
                                                               8          17.    Plaintiff’s videos of extreme weather events are frequently copied, downloaded, and
                                                               9 reuploaded by infringers. Plaintiff is a popular and frequent source of footage of weather events that
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                                                              10 cannot be obtained elsewhere. This makes plaintiff a frequent target for infringers and pirates.
                                                              11          18.    Both Live Storms Media and WXchasing operate popular and valuable YouTube
                                                              12 channels on the YouTube platform. As of the filing of this Complaint:
                                                              13                   a. Live Storms Media had over 350,000 subscribers and 19,000 videos on its
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                                                              14                         YouTube channel; the most popular Live Storms Media video had over 9
                                                              15                         million views; and
                                                              16                     b. WXchasing had over 65,000 subscribers and 475 videos on its YouTube
                                                              17                         channel; the most popular WXchasing video had over 6.5 million views.
                                                              18          19.    The Live Storms Media YouTube channel and the WXchasing YouTube channel are
                                                              19 viewed by substantial numbers of California residents who also view advertising placed on the
                                                              20 videos on those channels by YouTube.
                                                              21          20.    When infringement occurs to Viral DRM’s copyrighted Works Viral DRM is injured
                                                              22 and damaged in California. When someone infringes on plaintiff’s copyright like defendants did
                                                              23 plaintiff loses out on potential sales or licensing revenue to other California businesses. When
                                                              24 plaintiff’s copyrighted work is infringed upon and widely distributed on YouTube without plaintiff’s
                                                              25 permission like defendants did, it damages plaintiff’s reputation as a professional source of valuable
                                                              26 extreme weather video content and makes it more difficult for plaintiff to negotiate valuable licenses
                                                              27 from clients and potential clients in California in the future.
                                                              28



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                                                               1                                             GOOGLE LLC
                                                               2          21.     YouTube is a video-sharing platform where users can watch, upload, and share
                                                               3 videos. It is one of the most popular websites in the world, with over 2 billion active users.
                                                               4         22.     YouTube is owned by Google LLC.
                                                               5          23.     YouTube is headquartered in this judicial district.
                                                               6          24.     YouTube's main business is advertising. It generates revenue by selling advertising
                                                               7 space on its website and mobile apps. Advertisers can target their ads to specific demographics,
                                                               8 interests, and even keywords. This allows them to reach their target audience with a high degree of
                                                               9 accuracy. YouTube also earns revenue from its YouTube Premium subscription service. YouTube
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                                                              10 Premium members can watch videos without ads, download videos for offline viewing, and access
                                                              11 YouTube Music Premium. In addition to advertising and subscriptions, YouTube also generates
                                                              12 revenue from other sources, such as channel memberships.
                                                              13          25.     YouTube is a very profitable business. In 2021, it generated $28.8 billion in revenue
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                                                              14 and $20.6 billion in profit. Some of the factors that have contributed to YouTube's success are:
                                                              15                    a. The large number of users: YouTube has over 2 billion active users
                                                              16                         worldwide.
                                                              17                     b. The high level of engagement: Users watch an average of 1 hour and 20
                                                              18                         minutes of YouTube videos per day.
                                                              19                     c. The wide variety of content: YouTube offers a wide variety of content, from
                                                              20                         music videos to educational tutorials to funny cat videos.
                                                              21                     d. The ease of use: YouTube is easy to use and navigate.
                                                              22                     e. The monetization opportunities: YouTube offers a variety of ways for creators
                                                              23                         to monetize their content, such as through advertising, channel memberships,
                                                              24                         and Super Chat.
                                                              25                                             DEFENDANTS
                                                              26          26.     Defendants are YouTube uploaders with popular YouTube channels.
                                                              27          27.     Defendants are individuals who are physically located outside the United States.
                                                              28          28.     Defendants falsified their identities on YouTube.



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                                                               1          29.     The true identities of the defendants were obtained via subpoena from Google, LLC
                                                               2 pursuant to 17 U.S.C. § 512(h).
                                                               3        30.     Google, LLC’s response to the subpoena revealed that the information defendants
                                                               4 provided in their counternotices attached as Exhibit 4 hereto was false information.
                                                               5        31.     The true names, email addresses, and physical addresses of defendants are set forth
                                                               6 on Schedule A hereto.
                                                               7        32.   Defendants copied and downloaded plaintiff’s copyrighted Works from YouTube.
                                                               8          33.     After defendants downloaded plaintiff’s Works, they edited the Works, removed
                                                               9 plaintiff’s copyright management information, and then uploaded infringing versions of plaintiff’s
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                                                              10 Works to YouTube.
                                                              11          34.     Defendants copied plaintiff’s Works in order to advertise, market and promote their
                                                              12 YouTube channels, grow their YouTube channel subscriber base, earn money from advertising to
                                                              13 their YouTube subscribers, and engage in other money-making business activities using plaintiff’s
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                                                              14 copyrighted media content.
                                                              15        35.   Defendants committed the violations alleged in connection with defendants’
                                                              16 businesses for purposes of advertising to the public, including YouTube viewers in California, in the
                                                              17 course and scope of the defendants’ business.
                                                              18          36.     The YouTube and Google AdSense terms of service prohibit the defendants from
                                                              19 engaging in the actions alleged herein. Specifically, the defendants agreed (1) they are not allowed to
                                                              20 upload content that includes third-party intellectual property (such as copyrighted material) unless
                                                              21 with permission from that party or are otherwise legally entitled to do so; (2) they are responsible for
                                                              22 the content uploaded to YouTube, and may be liable for any copyright infringement claims that arise
                                                              23 from your content; (3) YouTube may remove or disable access to any content that it believes
                                                              24 infringes on someone else's copyright.
                                                              25          37.     Attached hereto on Schedule A is a list showing the defendants’ YouTube channel
                                                              26 names, links to their channels, the number of subscribers, the number of videos, and the number of
                                                              27 views for the defendants’ most popular videos.
                                                              28          38.     The defendants’ YouTube channels are extremely popular and valuable.



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                                                               1          39.    The defendants’ YouTube channels earn significant revenue from the performance
                                                               2 and display of pirated video content.
                                                               3        40.     The defendants monetized the videos they stole from Viral DRM. Monetizing videos
                                                               4 on YouTube involves enabling advertisements to be displayed on your videos, which allows you to
                                                               5 earn money through the YouTube Partner Program. The process works like this:
                                                               6                 a.      Eligibility: To monetize your videos, you need to meet certain eligibility
                                                               7          criteria set by YouTube. You have to have at least 1,000 subscribers on your channel and a
                                                               8          total of 4,000 watch hours in the past 12 months.
                                                               9
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                                                                                 b.      Joining the YouTube Partner Program: Once you meet the eligibility
                                                              10          requirements, you can apply to join the YouTube Partner Program (YPP). This program
                                                              11          allows you to monetize your videos by enabling ads on them. If your application is approved,
                                                              12          you gain access to various monetization features.
                                                              13                 c.      Ad Formats: YouTube offers different ad formats that can appear on your
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                                                              14          videos, including pre-roll ads (shown before your video starts), mid-roll ads (shown during
                                                              15          longer videos), and display ads (overlayed on the video or beside it). The specific types of
                                                              16          ads displayed on your videos may depend on factors like the viewer's location and the
                                                              17          advertiser's targeting preferences.
                                                              18                 d.      Revenue Sharing: When ads are displayed on your videos, you earn a portion
                                                              19          of the revenue generated by those ads. The exact revenue split varies, but generally, creators
                                                              20          receive around 55% of the ad revenue, while YouTube retains the remaining 45%. The
                                                              21          revenue is based on factors such as the number of ad impressions, viewer engagement, and
                                                              22          the advertisers' bidding.
                                                              23                 e.      AdSense Account: To receive payments for your YouTube earnings, you need
                                                              24          to have an AdSense account linked to your YouTube channel. AdSense is a program by
                                                              25          Google that allows publishers (in this case, YouTube creators) to earn money from ads. Once
                                                              26          your AdSense account is set up and linked to your YouTube channel, you can manage your
                                                              27          earnings and payment settings.
                                                              28



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                                                               1                  f.     Payment Threshold: YouTube pays creators once they reach a payment
                                                               2          threshold, which is typically $100. Once your earnings exceed this threshold, you become
                                                               3          eligible for payment. YouTube offers various payment methods, such as direct deposit or
                                                               4          wire transfer, depending on your country.
                                                               5                  g.     Other Revenue Streams: While ad revenue is a significant way to monetize
                                                               6          your YouTube channel, creators often explore other revenue streams as well. These can
                                                               7          include brand partnerships, sponsorships, merchandise sales, crowdfunding, and more.
                                                               8          41.     The defendants listed on Schedule A had access to and downloaded Viral DRM’s
                                                               9 copyrighted Works hosted by YouTube from Viral DRM’s affiliated Live Storms Media YouTube
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                                                              10 channels or Facebook pages online.
                                                              11          42.     Once downloaded, the defendants edited the pirated videos to remove or crop out
                                                              12 plaintiff’s proprietary watermarks and metadata. After editing the pirated videos, the defendants
                                                              13 combined the plaintiff’s videos with other video content that they either stole from others or created
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                                                              14 themselves and then reupload the resulting video to their YouTube channels and enabled advertising
                                                              15 on them to earn monetization revenue.
                                                              16                              THE COPYRIGHTED WORKS AT ISSUE
                                                              17          43.     Schedule A attached hereto contains the registration numbers of the copyright titles of
                                                              18 the performing arts Works at issue in this case. Schedule A indicates whether each work was
                                                              19 registered with the Copyright Office and provides the registration number if the work is registered.
                                                              20 To the extent that Schedule A indicates that a particular work is not registered, an infringement
                                                              21 claim is not alleged as to that unregistered work.
                                                              22          44.     At all relevant times, plaintiff was the exclusive licensee of the Works at issue in this
                                                              23 case. The authors of the Works at issue are listed in Schedule A along with the URLs where the
                                                              24 Works can be found online.
                                                              25          45.     True and correct copies of the applicable registration certificates are attached hereto
                                                              26 as Exhibit 2.
                                                              27
                                                              28



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                                                               1                                 INFRINGEMENT BY DEFENDANTS
                                                               2          46.     Defendants have never been licensed to use the Works at issue in this action for any
                                                               3 purpose.
                                                               4        47.       On a date after the Works listed in Schedule A at issue in this action were created, but
                                                               5 prior to the filing of this action, defendants copied the Works as indicated in the DMCA take-down
                                                               6 notices attached hereto as Exhibit 3 and removed plaintiff’s copyright management information from
                                                               7 the Works.
                                                               8       48.        Defendants copied the Works, publicly performed the Works, and made further
                                                               9 copies and distributed the Works on the internet without plaintiff’s or the authors’ permission, and
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                                                              10 without plaintiff’s copyright management information.
                                                              11          49.     Prior to the filing of this action, on a date after the Works were registered if
                                                              12 applicable, plaintiff discovered the unauthorized use of the Works by defendants as indicated in
                                                              13 Schedule A and in the DMCA take-down notices attached as Exhibit 3.
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                                                              14             DMCA TAKEDOWNS AND DEFENDANTS’ FALSE AND MISLEADING
                                                              15                                           COUNTERNOTICES
                                                              16          50.     Plaintiff notified YouTube and the defendants of the allegations set forth herein in the
                                                              17 DMCA notices attached hereto as Exhibit 3.
                                                              18     51.     Defendants responded to plaintiff’s DMCA notices with the false and misleading
                                                              19 counternotices defendants served that are attached hereto as Exhibit 4.
                                                              20        52.     The statements in the counternotices attached hereto are materially false and
                                                              21 defendants lacked a subjective good faith belief in the false statements contained therein when they
                                                              22 made the false statements.
                                                              23                             COUNT I - COPYRIGHT INFRINGEMENT
                                                              24          53.     Plaintiff incorporates the allegations of paragraphs 1 through 52 of this Complaint as
                                                              25 if fully set forth herein.
                                                              26          54.     Plaintiff owns valid copyrights in the Works at issue listed on Schedule A.
                                                              27          55.     Plaintiff registered the Works at issue in this case with the Register of Copyrights
                                                              28 pursuant to 17 U.S.C. § 411(a) as indicated on Schedule A.



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                                                               1          56.     Defendants copied, displayed, and distributed the Works at issue in this case and
                                                               2 made derivatives of the Works without plaintiff’s authorization in violation of 17 U.S.C. § 501 as
                                                               3 indicated on Schedule A and in the DMCA notices attached hereto.
                                                               4          57.     Defendants profited from the monetization of plaintiff’s copyrighted content by
                                                               5 placing advertising on the plaintiff’s Works and those profits rightfully belong to plaintiff.
                                                               6        58.     Defendants’ acts were willful. Defendants’ willfulness is demonstrated by their false
                                                               7 and misleading counternotices and the false identifying information they provided online to shield
                                                               8 their true identities from detection.
                                                               9
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                                                                          59.     Plaintiff has been damaged.
                                                              10          60.     The harm caused to plaintiff is irreparable.
                                                              11            COUNT II - MISREPRESENTATION AND FRAUD UNDER 17 U.S.C. § 512
                                                              12          61.     Plaintiff incorporates the allegations of paragraphs 1 through 52 of this Complaint as
                                                              13 if fully set forth herein.
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                                                              14          62.     Plaintiff notified YouTube and defendants of the allegations set forth herein in
                                                              15 DMCA notices, copies of which are annexed hereto as Exhibit 3.
                                                              16     63.     Defendants responded to plaintiff’s DMCA notices with false and misleading
                                                              17 counternotices, true and correct copies of which are annexed hereto as Exhibit 4.
                                                              18        64.     Defendants’ statements in the counternotices were materially false and defendant
                                                              19 lacked a subjective good faith belief in the false statements contained therein.
                                                              20        65.     Defendants knowingly and materially misrepresented that its copies of plaintiff’s
                                                              21 Works were removed or disabled by mistake or misidentification.
                                                              22       66.    Defendants knowingly and materially misrepresented their true identities in their false
                                                              23 and misleading counternotices to shield their true identities from detection.
                                                              24        67.    Plaintiff was injured by defendants’ misrepresentation and counternotices.
                                                              25          68.     Plaintiff will be injured by replacing the removed material or ceasing to disable
                                                              26 access to it.
                                                              27         69.      Defendants profited from the monetization of plaintiff’s copyrighted content by
                                                              28 placing advertising on the plaintiff’s Works and those profits rightfully belong to plaintiff.



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                                                               1          70.     Defendants are liable for any damages, including costs and attorneys’ fees, incurred
                                                               2 by plaintiff.
                                                               3        71.       The harm caused to plaintiff has been irreparable.
                                                               4         COUNT III - REMOVAL OR ALTERATION OF COPYRIGHT MANAGEMENT
                                                               5                                             INFORMATION
                                                               6          72.      Plaintiff incorporates the allegations of paragraphs 1 through 52 of this Complaint as
                                                               7 if fully set forth herein.
                                                               8          73.      The Works at issue in this case set forth on Schedule A contained copyright
                                                               9 management information (“CMI”) consisting of watermarks identifying the Works as “NOT FOR
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                                                              10 BROADCAST” and the property of LIVE STORMS MEDIA or similar markings that plaintiff uses
                                                              11 to identify and associate itself with its Works.
                                                              12         74.     Defendants knowingly and with the intent to enable or facilitate copyright
                                                              13 infringement, removed CMI from the Works at issue in this action in violation of 17 U.S.C. §
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                                                              14 1202(b).
                                                              15          75.     Defendants committed these acts knowing or having reasonable grounds to know that
                                                              16 they will induce, enable, facilitate or conceal infringement of plaintiff’s rights in the Works at issue
                                                              17 in this action protected under the Copyright Act.
                                                              18          76.     Defendants caused, directed and authorized others to commit these acts knowing or
                                                              19 having reasonable grounds to know that they will induce, enable, facilitate or conceal infringement
                                                              20 of plaintiff’s rights in the Works at issue in this action protected under the Copyright Act.
                                                              21          77.     Plaintiff has been damaged.
                                                              22          78.     The harm caused to plaintiff has been irreparable.
                                                              23       COUNT IV - FALSIFICATION OF COPYRIGHT MANAGEMENT INFORMATION
                                                              24          79.     Plaintiff incorporates the allegations of paragraphs 1 through 52 of this Complaint as
                                                              25 if fully set forth herein.
                                                              26          80.     Defendants knowingly and with the intent to induce, enable, facilitate, or conceal
                                                              27 infringement, provided copyright management information that is false.
                                                              28



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                                                               1          81.       By uploading content to YouTube, defendants declared that they had the necessary
                                                               2 rights or permissions to distribute and share that content.
                                                               3         82.    Defendants' YouTube channels provided identifying information for defendants that
                                                               4 was copyright management information and that falsely claimed ownership or rights in the Works
                                                               5 displayed there that was false and provided to induce, enable, facilitate or conceal infringement of
                                                               6 plaintiff's Works in violation of 17 U.S.C. § 1202(a).
                                                               7         83.    In the defendants' counternotices to plaintiff's DMCA notices, defendants knowingly
                                                               8 and with the intent to enable or facilitate copyright infringement, falsely provided their own CMI in
                                                               9 violation of 17 U.S.C. § 1202(a).
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                                                              10          84.       Defendants caused, directed and authorized others to commit these acts knowing or
                                                              11 having reasonable grounds to know that they will induce, enable, facilitate or conceal infringement
                                                              12 of plaintiff’s rights in the Works at issue in this action protected under the Copyright Act.
                                                              13          85.       Plaintiff has been damaged.
SRIPLAW




                                                              14          86.       The harm caused to plaintiff has been irreparable.
                                                              15          WHEREFORE, plaintiff prays for judgment against the defendants that:
                                                              16                    a.     Defendants, their officers, agents, servants, employees, affiliated entities, and
                                                              17          all of those in active concert with them, be preliminarily and permanently enjoined from
                                                              18          committing the acts alleged herein in violation of 17 U.S.C. §§ 501, 1203;
                                                              19                    b.     Defendants be required to pay plaintiff’s actual damages and defendants’
                                                              20          profits attributable to the infringement, or, at plaintiff’s election, statutory damages, as
                                                              21          provided in 17 U.S.C. §§ 504, 512(f), and 1203;
                                                              22                    c.     Plaintiff be awarded its attorneys’ fees and costs of suit under the applicable
                                                              23          statutes sued upon;
                                                              24                    d.     Plaintiff be awarded pre- and post-judgment interest; and
                                                              25                    e.     Plaintiff be awarded such other and further relief as the Court deems just and
                                                              26          proper.
                                                              27                                              JURY DEMAND
                                                              28          Plaintiff hereby demands a trial by jury of all issues so triable.



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                                                                   DATED: October 30, 2023                     Respectfully submitted,
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                                                               3                                               /s/ Matthew L. Rollin
                                                                                                               MATTHEW L. ROLLIN
                                                               4                                               SRIPLAW, P.A.
                                                                                                               Counsel for Plaintiff Viral DRM LLC
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          CALIFORNIA ◆GEORGIA ◆FLORIDA ◆TENNESSEE ◆NEW YORK




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SRIPLAW




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                                                                   COMPLAINT FOR INTELLECTUAL PROPERTY INFRINGEMENT                           CASE NO. 3:23-CV-05594
